         Case 8:19-cv-01257-JFW-PJW Document 15 Filed 06/24/19 Page 1 of 1 Page ID #:53
                                 UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
Bryce Abbink                                                                CASE NUMBER:

                                                                                                 8:19-cv-01257-JFW-PJW
                                                         PLAINTIFF(S)
                          v.
Experian Infomation Solutions Inc et al                                           NOTICE TO FILER OF DEFICIENCIES IN
                                                                                 ELECTRONICALLY FILED PRO HAC VICE
                                                      DEFENDANT(S)                          APPLICATION
PLEASE TAKE NOTICE:
The following problem(s) have been found with your electronically filed document:
     June 21, 2019                          7                         Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice

     Date Filed                             Doc. No.                  Title of Doc.
ERRORS WITH DOCUMENT
             Document submitted in wrong case.
             Incorrect document attached to the docket entry.
             Incorrect event selected. Correct event is "Appear Pro Hac Vice (G-64 or pleading)"
             Hearing date set, but no hearing required.
             Superseded version of Form G-64 used.
             Local Rule 5-4.3.4               Application not hand-signed.
             Local Rule 5-4.4.2               WordPerfect or Word copy of the proposed order not e-mailed to the
                                              assigned judge's generic chambers email address.
             Local Rule 83-2.1.3.2(a)         Applicant resides in California.
             Local Rule 83-2.1.3.3(a)         Application not complete: state and/or federal courts to which the applicant
                                              has been admitted are not listed.
     ✔       Local Rule 83-2.1.3.3(b)         Proposed order not attached.
             Local Rule 83-2.1.3.3(c)         $400 fee not paid.
             Local Rule 83-2.1.3.3(d)         Certificate of Good Standing not attached for every state court listed to
                                              which the applicant has been admitted.
             Local Rule 83-2.1.3.3(d)         Attached Certificate of Good Standing not issued within 30 days prior to
                                              filing of the application.
             Local Rule 83-2.1.3.4            Local counsel does not maintain an office within the District.
             Other:




 Note:     In response to this notice, the Court may: 1) deny the Application; 2) order an amended or corrected document to be
           filed; 3) order the document stricken; or 4) take other action as the Court deems appropriate. You need not take any
           action in response to this notice unless and until the Court directs you to do so.
                                                                               Clerk, U.S. District Court

Dated: June 24, 2019                                                                  By: Lupe_Thrasher@cacd.uscourts.gov
                                                                                               Deputy Clerk
cc: Assigned District Judge and/or Magistrate Judge

                 Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.

G-112C (07/18)             NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED PRO HAC VICE APPLICATION
